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                                        Exhibit B

                             Amended Proposed Order Blackline




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                                     Exhibit A

                                  Proposed Order




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


In re:                                                               Chapter 11

AMYRIS, INC., et al.,                                                Case No. 23-11131 (TMH)

                                    Debtors.1                        (Jointly Administered)


                  ORDER AUTHORIZING THE DEBTORS TO ASSUME
               AND/OR ENTER INTO REIMBURSEMENT AGREEMENTS
            WITH PROFESSIONALS FOR THE AD HOC NOTEHOLDER GROUP




1    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
     place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
     Emeryville, CA 94608.



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          Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) for the entry of an order (this “Order”)

authorizing the Debtors to assume and/or enter into reimbursement agreements (each, a

“Reimbursement Agreement”) between the Debtors and professionals retained by the ad hoc

group of the holders of the 1.50% Convertible Senior Notes due 2026 (the “Ad Hoc Noteholder

Group”) pursuant to sections 105(a), 363 and 365 of title 11 of the United States Code (the

“Bankruptcy Code”), all as more fully set forth in the Motion; and upon consideration of the First

Day Declaration and the Gund Declaration; and the United States District Court for the District

of Delaware having jurisdiction over this matter pursuant to 28 U.S.C. § 1334, which was

referred to this Court under 28 U.S.C. § 157 pursuant to the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29,

2012; and the Court having found that this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2), and that the Court may enter a final order consistent with Article III of the United

States Constitution; and the Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that

the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate

under the circumstances and no other notice need be provided; and the Court having reviewed

the Motion and having heard the statements in support of the relief requested therein at a hearing

before the Court (the “Hearing”); and the Court having determined that the legal and factual

bases set forth in the Motion and at the Hearing establish just cause for the relief granted herein;

and upon all of the proceedings had before the Court; and after due deliberation and sufficient




2    Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.


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cause appearing therefor;

                    IT IS HEREBY ORDERED THAT:

          1.        The Motion is GRANTED as set forth herein.

          2.        The Debtors are authorized to enter into and assume the Noteholder Group

Reimbursement Agreements and to pay, in accordance with this Order, the Noteholder Group

Professionals for their reasonable and documented fees and expenses incurred during the

Compensation Period on a bi-weekly basis (i) to review documents related to the Foris

Prepetition Secured Lenders’ claims, including the (x) terms, conditions and amount of the Foris

Prepetition Secured Lenders’ claims, (y) nature, extent, and perfection of the liens that secure the

Foris Prepetition Secured Lenders’ claims; and (z) the Debtors’ purpose for the incurrence of the

obligations constituting the Foris Prepetition Secured Lenders’ claims, including the Debtors’

board minutes related thereto; and (ii) to conduct and engage in diligence, negotiation,

prosecution, documentation, and implementation of a comprehensive consensual restructuring of

the Debtors in accordance with the terms and conditions of the Reimbursement Agreements (the

“Scope”) and this Order (the “Noteholder Group Professional Compensation”); provided,

however, that (a) the Debtors are only authorized to pay the Noteholder Group Professionals up

to $750,000 in the aggregate (the “Noteholder Group Professional Cap”) on account of the Scope

during the Compensation Period (exclusive of the PH Advance Payment, which PH Advance

Payment, to the extent remaining after application against Paul Hastings’ fees and expenses in

representing the Ad Hoc Noteholder Group prior to the Petition Date, which shall first be applied

by Paul Hastings on account of their reasonable and documented fees and expenses incurred

during the Compensation Period in accordance with the Scope); (b) the Debtors shall have no

obligation to pay any fees, expenses, or other amounts incurred by a Noteholder Group



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Professional other than for payment of reasonable fees and reimbursement of expenses incurred

during the Compensation Period and only with respect to the Scope and in no event after the

termination of such party’s Reimbursement Agreement in accordance with its terms; (c) the

Debtors are not authorized to pay (and the Scope shall not include) any fees, expenses, or other

amounts incurred by any Noteholder Group Professional (i) in connection with or in furtherance

of investigating (except to the extent expressly provided for in the Scope), preparing for,

commencing, or prosecuting any claim, cause of action or litigation against the Debtors, the

Foris Prepetition Secured Lenders or the DIP Secured Parties, or assisting any person in

connection with the foregoing; or (ii) in connection with the prosecution or defense of any claim

of any individual member of the Ad Hoc Noteholder Group, and (d) the DIP Secured Parties

agree that the Debtors’ obligations to the Noteholder Group Professionals, solely to the extent

described in the Motion and as approved by this Order, shall be reflected in an amended DIP

Budget consistent with the Motion and this Order and, consistent with that DIP Budget, the

Noteholder Group Professionals’ shall be entitled to share in the protection of the Carve Out

provisions of the Interim DIP Order and any final order thereto, and (e) the Noteholder Group

Professionals shall use commercially reasonable efforts to not unduly duplicate the work

undertaken by or expected to be undertaken by the Committee’s professionals.

          3.        Noteholder Group Professionals shall not be required to file any interim or final

applications for compensation with the Court as a condition precedent to the Debtors’ obligation

to pay such fees and expenses in accordance with this Order; provided, however, that payment of

the Noteholder Group Professional Compensation shall be subject to the following procedures:

                    (a)      Noteholder Group Professionals shall submit a reasonably detailed invoice

                             (which shall include the total number of hours billed by attorney or other



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                             professional but shall not be required to comply with any particular

                             format, and may be in summary form onlyshall include the specific time

                             entries for which reimbursement is sought; provided that such

                             professionals shall have no obligation to comply with the U.S. Trustee

                             Guidelines with respect to such entries; provided, further, that privileged

                             information in such time entries may be redacted) to counsel to the

                             Debtors, Foris Prepetition Secured Lenders, the DIP Secured Parties, the

                             United States Trustee, and any official committee appointed in these

                             Chapter 11 Cases (collectively, the “Notice Parties”) for any postpetition

                             fees and expenses, which summary invoices shall be sufficiently detailed

                             to enable a determination as to the reasonableness of such fees and

                             expenses and compliance with other terms of this Order (without limiting

                             the right of the Noteholder Group Professionals to redact privileged,

                             confidential, or sensitive information);

                    (b)      If any Notice Party objects to the fees and expenses in accordance with

                             this Order and cannot resolve such objection within fiveten (510)

                             businesscalendar days of the Notice Parties’ receipt of an invoice, the

                             Debtors shall file with the Court and serve on such Noteholder Group

                             Professional an objection (a “Fee Objection”) limited to one or more of (i)

                             the reasonableness of the fees and expenses; (ii) the fees and expenses

                             falling outside of the Scope; or (iii) the fees and expenses exceeding the

                             Noteholder Group Professional Cap.




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                    (c)      If no Fee Objection is timely received, the Debtors shall timely (and in any

                             event within five (5) business days) pay the invoice of the Noteholder

                             Group Professional. If a Fee Objection is timely received, the Debtors

                             shall timely (and in any event within five (5) business days) pay the

                             undisputed amount of the invoice of the Noteholder Group Professional.

          4.        Entry of this Order is without prejudice to all parties’ rights with respect to

Noteholder Group Professionals’ fees and expenses incurred but not authorized to be paid by this

Order. To the extent the Debtors, Foris Prepetition Secured Lenders, DIP Secured Parties, and

the Ad Hoc Noteholder Group agree to amend the Scope, the Noteholder Group Professional

Cap, and/or the Compensation Period, the Debtors may file with the Court and serve a notice of

such amendment (an “Amendment Notice”) in accordance with Bankruptcy Rule 2002. To the

extent no party-in-interest objects to such amendment within fiveten (510) businesscalendar days

of the filing of the Amendment Notice, any such amendment is deemed effective and

incorporated into this Order. If any party-in-interest objects to such amendment within fiveten

(510) businesscalendar days of the filing of the Amendment Notice, the Debtors shall schedule a

hearing with the Court with respect to the Amendment Notice and the objection thereto.

          5.        Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules for

the District of Delaware are satisfied by such notice.

          6.        The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

          7.        The Court retains jurisdiction with respect to all matters arising from or related to

the interpretation or implementation of this Order.



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                             Summary report:
    Litera Compare for Word 11.4.0.111 Document comparison done on
                           9/4/2023 1:01:34 PM
Style name: 2_WC_StandardSet
Intelligent Table Comparison: Active
Original DMS: iw://AMERICAS_DMS/AMERICAS/124978803/1
Modified DMS: iw://AMERICAS_DMS/AMERICAS/124978803/3
Changes:
Add                                                    11
Delete                                                 11
Move From                                              0
Move To                                                0
Table Insert                                           0
Table Delete                                           0
Table moves to                                         0
Table moves from                                       0
Embedded Graphics (Visio, ChemDraw, Images etc.)       0
Embedded Excel                                         0
Format changes                                         0
Total Changes:                                         22
